                   Case 16-42080        Doc 52      Filed 09/17/19      Entered 09/17/19 14:38:55         Desc Main Document               Page 1 of 53




 Fill in this information to identify your case and this filing:
 Debtor 1             Christopher              Wayne                    Ponton
                      First Name               Middle Name              Last Name

 Debtor 2            Aida                      Nelly                    Ponton
 (Spouse, if filing) First Name                Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          16-42080
                                                                                                                                  Check if this is an
 (if known)
                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.   Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
          No. Go to Part 2.
          Yes. Where is the property?

2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any
     entries for pages you have attached for Part 1. Write that number here.............................................................                       $0.00


 Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

         No
         Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Dodge                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Journey
                                                            Debtor 2 only                           Current value of the                      Current value of the
Year:                     2014
                                                            Debtor 1 and Debtor 2 only              entire property?                          portion you own?
Approximate mileage: 76,000                                 At least one of the debtors and another            $11,037.50                                 $11,037.50
Other information:
2014 Dodge Journey (approx. 76,000                          Check if this is community property
miles)                                                      (see instructions)

3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Volkswagen                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Passat
                                                            Debtor 2 only                           Current value of the                      Current value of the
Year:                     2008                                                                      entire property?                          portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 130,000                                At least one of the debtors and another             $1,750.00                                  $1,750.00
Other information:
2008 Volkswagen Passat (approx.                             Check if this is community property
130,000 miles)                                              (see instructions)




Official Form 106A/B                                                 Schedule A/B: Property                                                                    page 1
                    Case 16-42080       Doc 52      Filed 09/17/19      Entered 09/17/19 14:38:55         Desc Main Document               Page 2 of 53



Debtor 1         Christopher Wayne Ponton
Debtor 2         Aida Nelly Ponton                                                                   Case number (if known)         16-42080

3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Volkswagen                  Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Tiguan
                                                            Debtor 2 only                           Current value of the                      Current value of the
Year:                      2016                                                                     entire property?                          portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 45,000                                 At least one of the debtors and another            $12,662.50                                 $12,662.50
Other information:
2016 Volkswagen Tiguan (approx.                             Check if this is community property
45,000 miles)                                               (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................                  $25,450.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                   $5,300.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               Camera                                                                                                                       $100.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothing                                                                                                                     $400.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                    page 2
                         Case 16-42080                Doc 52         Filed 09/17/19             Entered 09/17/19 14:38:55                      Desc Main Document                       Page 3 of 53



Debtor 1          Christopher Wayne Ponton
Debtor 2          Aida Nelly Ponton                                                                                                     Case number (if known)                    16-42080

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                Jewelry                                                                                                                                                                           $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $5,900.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Chase Bank Total Checking Account 2236                                                                                                        $1,011.15
             17.2.        Checking account:                      Chase College Checking Account                                                                                                                   $400.32
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                    page 3
                       Case 16-42080           Doc 52        Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document        Page 4 of 53



Debtor 1         Christopher Wayne Ponton
Debtor 2         Aida Nelly Ponton                                                                     Case number (if known)   16-42080

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                      % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:          Institution name:

                                           401(k) or similar plan: Fidelity 401(k) or similar plan                                                  $4,157.26
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                          Schedule A/B: Property                                                    page 4
                      Case 16-42080             Doc 52     Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document        Page 5 of 53



Debtor 1        Christopher Wayne Ponton
Debtor 2        Aida Nelly Ponton                                                                    Case number (if known)    16-42080

Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                     Federal:
           about them, including whether
           you already filed the returns                                                                                      State:
           and the tax years.....................................
                                                                                                                              Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                        Alimony:

                                                                                                                 Maintenance:

                                                                                                                 Support:

                                                                                                                 Divorce settlement:

                                                                                                                 Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                                  Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............


35. Any financial assets you did not already list

           No
           Yes. Give specific information




Official Form 106A/B                                                        Schedule A/B: Property                                                       page 5
                       Case 16-42080           Doc 52       Filed 09/17/19         Entered 09/17/19 14:38:55              Desc Main Document                Page 6 of 53



Debtor 1         Christopher Wayne Ponton
Debtor 2         Aida Nelly Ponton                                                                                   Case number (if known)             16-42080

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $5,568.73


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
                        Case 16-42080           Doc 52      Filed 09/17/19         Entered 09/17/19 14:38:55              Desc Main Document                Page 7 of 53



Debtor 1          Christopher Wayne Ponton
Debtor 2          Aida Nelly Ponton                                                                                  Case number (if known)             16-42080


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                         Case 16-42080             Doc 52        Filed 09/17/19          Entered 09/17/19 14:38:55                  Desc Main Document                  Page 8 of 53



Debtor 1           Christopher Wayne Ponton
Debtor 2           Aida Nelly Ponton                                                                                          Case number (if known)                16-42080


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $25,450.00

57. Part 3: Total personal and household items, line 15                                                               $5,900.00

58. Part 4: Total financial assets, line 36                                                                           $5,568.73

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $36,918.73              property total                 +           $36,918.73


63. Total of all property on Schedule A/B.                                                                                                                                                    $36,918.73
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
                Case 16-42080    Doc 52   Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document     Page 9 of 53



Debtor 1     Christopher Wayne Ponton
Debtor 2     Aida Nelly Ponton                                                      Case number (if known)   16-42080


6.   Household goods and furnishings (details):

     Stove                                                                                                                     $200.00

     Microwave                                                                                                                 $100.00

     Refrigerator                                                                                                              $300.00

     Dishwasher                                                                                                                $100.00

     Washing Machine                                                                                                           $300.00

     Dryer                                                                                                                     $300.00

     Living Room Furniture                                                                                                     $800.00

     Bedroom Furniture                                                                                                         $800.00

     Televison(s) (5)                                                                                                         $1,000.00

     Household Tools                                                                                                           $200.00

     Computer (2)                                                                                                              $300.00

     Plates, China, etc.                                                                                                       $100.00

     Den Furniture                                                                                                             $300.00

     Dining Room Furniture                                                                                                     $500.00




Official Form 106A/B                                       Schedule A/B: Property                                                 page 9
                     Case 16-42080   Doc 52   Filed 09/17/19    Entered 09/17/19 14:38:55      Desc Main Document          Page 10 of 53




 Fill in this information to identify your case:
 Debtor 1              Christopher        Wayne                  Ponton
                       First Name         Middle Name            Last Name
 Debtor 2            Aida                 Nelly                  Ponton
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number           16-42080                                                                                      amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $11,037.50                  $4,000.00          11 U.S.C. § 522(d)(2)
2014 Dodge Journey (approx. 76,000                                                100% of fair market
miles)                                                                            value, up to any
(1st exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit

Brief description:                                         $11,037.50                    $37.50           11 U.S.C. § 522(d)(5)
2014 Dodge Journey (approx. 76,000                                                100% of fair market
miles)                                                                            value, up to any
(2nd exemption claimed for this asset)                                            applicable statutory
Line from Schedule A/B: 3.1                                                       limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                Schedule C: The Property You Claim as Exempt                                              page 1
                     Case 16-42080   Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document      Page 11 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                        Case number (if known)   16-42080

 Part 2:        Additional Page
Brief description of the property and line on        Current value of     Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                the portion you      exemption you claim
                                                     own
                                                     Copy the value from Check only one box for
                                                     Schedule A/B        each exemption

Brief description:                                        $1,750.00                $1,750.00          11 U.S.C. § 522(d)(2)
2008 Volkswagen Passat (approx. 130,000                                        100% of fair market
miles)                                                                         value, up to any
(1st exemption claimed for this asset)                                         applicable statutory
Line from Schedule A/B: 3.2                                                    limit

Brief description:                                        $1,750.00                   $0.00           11 U.S.C. § 522(d)(5)
2008 Volkswagen Passat (approx. 130,000                                        100% of fair market
miles)                                                                         value, up to any
(2nd exemption claimed for this asset)                                         applicable statutory
Line from Schedule A/B: 3.2                                                    limit

Brief description:                                       $12,662.50                   $0.00           11 U.S.C. § 522(d)(2)
2016 Volkswagen Tiguan (approx. 45,000                                         100% of fair market
miles)                                                                         value, up to any
Line from Schedule A/B: 3.3                                                    applicable statutory
                                                                               limit

Brief description:                                         $200.00                  $200.00           11 U.S.C. § 522(d)(3)
Stove                                                                          100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $100.00                  $100.00           11 U.S.C. § 522(d)(3)
Microwave                                                                      100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Refrigerator                                                                   100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $100.00                  $100.00           11 U.S.C. § 522(d)(3)
Dishwasher                                                                     100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Washing Machine                                                                100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Dryer                                                                          100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                           page 2
                     Case 16-42080   Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document      Page 12 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                        Case number (if known)   16-42080

 Part 2:        Additional Page
Brief description of the property and line on        Current value of     Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                the portion you      exemption you claim
                                                     own
                                                     Copy the value from Check only one box for
                                                     Schedule A/B        each exemption

Brief description:                                         $800.00                  $800.00           11 U.S.C. § 522(d)(3)
Living Room Furniture                                                          100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $800.00                  $800.00           11 U.S.C. § 522(d)(3)
Bedroom Furniture                                                              100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                        $1,000.00                $1,000.00          11 U.S.C. § 522(d)(3)
Televison(s) (5)                                                               100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $200.00                  $200.00           11 U.S.C. § 522(d)(3)
Household Tools                                                                100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Computer (2)                                                                   100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $100.00                  $100.00           11 U.S.C. § 522(d)(3)
Plates, China, etc.                                                            100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Den Furniture                                                                  100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $500.00                  $500.00           11 U.S.C. § 522(d)(3)
Dining Room Furniture                                                          100% of fair market
                                                                               value, up to any
Line from Schedule A/B:        6
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $100.00                  $100.00           11 U.S.C. § 522(d)(5)
Camera                                                                         100% of fair market
                                                                               value, up to any
Line from Schedule A/B:       10
                                                                               applicable statutory
                                                                               limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                           page 3
                     Case 16-42080   Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document      Page 13 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                        Case number (if known)   16-42080

 Part 2:        Additional Page
Brief description of the property and line on        Current value of     Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                the portion you      exemption you claim
                                                     own
                                                     Copy the value from Check only one box for
                                                     Schedule A/B        each exemption

Brief description:                                         $400.00                  $400.00           11 U.S.C. § 522(d)(3)
Clothing                                                                       100% of fair market
                                                                               value, up to any
Line from Schedule A/B:       11
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $100.00                  $100.00           11 U.S.C. § 522(d)(4)
Jewelry                                                                        100% of fair market
                                                                               value, up to any
Line from Schedule A/B:       12
                                                                               applicable statutory
                                                                               limit

Brief description:                                        $1,011.15                $1,011.15          11 U.S.C. § 522(d)(5)
Chase Bank Total Checking Account 2236                                         100% of fair market
                                                                               value, up to any
Line from Schedule A/B:      17.1
                                                                               applicable statutory
                                                                               limit

Brief description:                                         $400.32                  $400.32           11 U.S.C. § 522(d)(5)
Chase College Checking Account                                                 100% of fair market
                                                                               value, up to any
Line from Schedule A/B:      17.2
                                                                               applicable statutory
                                                                               limit

Brief description:                                        $4,157.26                $4,157.26          11 U.S.C. § 522(d)(12)
Fidelity 401(k) or similar plan                                                100% of fair market
                                                                               value, up to any
Line from Schedule A/B:       21
                                                                               applicable statutory
                                                                               limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                           page 4
                    Case 16-42080       Doc 52     Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document     Page 14 of 53



                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                         SHERMAN DIVISION
  IN RE: Christopher Wayne Ponton                                                                CASE NO       16-42080
         Aida Nelly Ponton
                                                                                                CHAPTER        7
                                                                         AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                        Scheme Selected: Federal
                                                                Gross                Total             Total         Total Amount      Total Amount
No.     Category                                        Property Value       Encumbrances             Equity               Exempt       Non-Exempt


1.      Real property                                          $0.00                  $0.00           $0.00                 $0.00            $0.00

3.      Motor vehicles (cars, etc.)                       $25,450.00            $21,700.00         $5,787.50           $5,787.50             $0.00

4.      Water/Aircraft, Motor Homes,                           $0.00                  $0.00           $0.00                 $0.00            $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $5,300.00                  $0.00        $5,300.00           $5,300.00             $0.00

7.      Electronics                                            $0.00                  $0.00           $0.00                 $0.00            $0.00

8.      Collectibles of value                                  $0.00                  $0.00           $0.00                 $0.00            $0.00

9.      Equipment for sports and hobbies                       $0.00                  $0.00           $0.00                 $0.00            $0.00

10.     Firearms                                             $100.00                  $0.00         $100.00               $100.00            $0.00

11.     Clothes                                              $400.00                  $0.00         $400.00               $400.00            $0.00

12.     Jewelry                                              $100.00                  $0.00         $100.00               $100.00            $0.00

13.     Non-farm animals                                       $0.00                  $0.00           $0.00                 $0.00            $0.00

14.     Unlisted pers. and household items-                    $0.00                  $0.00           $0.00                 $0.00            $0.00
        incl. health aids

16.     Cash                                                   $0.00                  $0.00           $0.00                 $0.00            $0.00

17.     Deposits of money                                  $1,411.47                  $0.00        $1,411.47           $1,411.47             $0.00

18.     Bonds, mutual funds or publicly                        $0.00                  $0.00           $0.00                 $0.00            $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                  $0.00           $0.00                 $0.00            $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                  $0.00           $0.00                 $0.00            $0.00
        instruments

21.     Retirement or pension accounts                     $4,157.26                  $0.00        $4,157.26           $4,157.26             $0.00

22.     Security deposits and prepayments                      $0.00                  $0.00           $0.00                 $0.00            $0.00

23.     Annuities                                              $0.00                  $0.00           $0.00                 $0.00            $0.00

24.     Interests in an education IRA                          $0.00                  $0.00           $0.00                 $0.00            $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                  $0.00           $0.00                 $0.00            $0.00

26.     Patents, copyrights, and other                         $0.00                  $0.00           $0.00                 $0.00            $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                  $0.00           $0.00                 $0.00            $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                  $0.00           $0.00                 $0.00            $0.00
                    Case 16-42080      Doc 52    Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document     Page 15 of 53



                                                UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF TEXAS
                                                        SHERMAN DIVISION
  IN RE: Christopher Wayne Ponton                                                               CASE NO       16-42080
         Aida Nelly Ponton
                                                                                               CHAPTER        7
                                                                      AMENDED
                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                  Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                       Scheme Selected: Federal
                                                            Gross                    Total            Total         Total Amount      Total Amount
No.     Category                                    Property Value           Encumbrances            Equity               Exempt       Non-Exempt


29.     Family support                                       $0.00                    $0.00           $0.00               $0.00             $0.00

30.     Other amounts someone owes you                       $0.00                    $0.00           $0.00               $0.00             $0.00

31.     Interests in insurance policies                      $0.00                    $0.00           $0.00               $0.00             $0.00

32.     Any int. in prop. due you from                       $0.00                    $0.00           $0.00               $0.00             $0.00
        someone who has died

33.     Claims vs. third parties, even                       $0.00                    $0.00           $0.00               $0.00             $0.00
        if no demand

34.     Other contin. and unliq. claims                      $0.00                    $0.00           $0.00               $0.00             $0.00
        of every nature

35.     Any financial assets you did                         $0.00                    $0.00           $0.00               $0.00             $0.00
        not already list

38.     Accounts rec. or commissions you                     $0.00                    $0.00           $0.00               $0.00             $0.00
        already earned

39.     Office equipment, furnishings,                       $0.00                    $0.00           $0.00               $0.00             $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                   $0.00                    $0.00           $0.00               $0.00             $0.00
        tools of trade

41.     Inventory                                            $0.00                    $0.00           $0.00               $0.00             $0.00

42.     Interests in partnerships or                         $0.00                    $0.00           $0.00               $0.00             $0.00
        joint ventures

43.     Customer and mailing lists, or                       $0.00                    $0.00           $0.00               $0.00             $0.00
        other compilations

44.     Any business-related property not                    $0.00                    $0.00           $0.00               $0.00             $0.00
        already listed

47.     Farm animals                                         $0.00                    $0.00           $0.00               $0.00             $0.00

48.     Crops--either growing or harvested                   $0.00                    $0.00           $0.00               $0.00             $0.00

49.     Farm/fishing equip., impl., mach.,                   $0.00                    $0.00           $0.00               $0.00             $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,                $0.00                    $0.00           $0.00               $0.00             $0.00
        and feed

51.     Farm/commercial fishing-related prop.                $0.00                    $0.00           $0.00               $0.00             $0.00
        not listed

53.     Any other property of any kind not                   $0.00                    $0.00           $0.00               $0.00             $0.00
        already listed

                    TOTALS:                            $36,918.73                $21,700.00      $17,256.23          $17,256.23             $0.00
                   Case 16-42080      Doc 52    Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document      Page 16 of 53



                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                       SHERMAN DIVISION
  IN RE: Christopher Wayne Ponton                                                              CASE NO       16-42080
         Aida Nelly Ponton
                                                                                              CHAPTER        7
                                                                     AMENDED
                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                 Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                    Market Value                     Lien               Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                        $0.00                    $0.00                  $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                   Market Value            Lien             Equity       Non-Exempt Amount

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                        $0.00          $0.00             $0.00                      $0.00




                                                                  Summary
            A. Gross Property Value (not including surrendered property)                                              $36,918.73

            B. Gross Property Value of Surrendered Property                                                                 $0.00

            C. Total Gross Property Value (A+B)                                                                       $36,918.73

            D. Gross Amount of Encumbrances (not including surrendered property)                                      $21,700.00

            E. Gross Amount of Encumbrances on Surrendered Property                                                         $0.00

            F. Total Gross Encumbrances (D+E)                                                                         $21,700.00

            G. Total Equity (not including surrendered property) / (A-D)                                              $17,256.23

            H. Total Equity in surrendered items (B-E)                                                                      $0.00

            I. Total Equity (C-F)                                                                                     $17,256.23

            J. Total Exemptions Claimed                (Wild Card Used: $1,548.97, Available: $26,251.03)             $17,256.23

            K. Total Non-Exempt Property Remaining (G-J)                                                                    $0.00
                      Case 16-42080    Doc 52    Filed 09/17/19   Entered 09/17/19 14:38:55      Desc Main Document        Page 17 of 53




  Fill in this information to identify your case:
  Debtor 1              Christopher          Wayne                  Ponton
                        First Name           Middle Name            Last Name

  Debtor 2            Aida                   Nelly                  Ponton
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number           16-42080
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $14,700.00              $12,662.50            $2,037.50
Bridgecrest                                      VW
Creditor's name
P.O. Box 53087
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Phoenix                  AZ      85072               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Auto loan
   to a community debt
Date debt was incurred                           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $14,700.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
                    Case 16-42080     Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55       Desc Main Document       Page 18 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                            Case number (if known)      16-42080

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                               $7,000.00            $11,037.50
Go Financial                                   2014 Dodge Journey (approx.
Creditor's name
7465 E Hampton Ave                             20100 miles)
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Mesa                    AZ      85209              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred          10/2016        Last 4 digits of account number        4     7    0    1

  2.3                                          Describe the property that
                                               secures the claim:                                $337.01                 $745.97
Nebraska Furniture Mart                        Household Goods
Creditor's name
Attn: Collections
Number     Street
PO Box 2335
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Omaha                   NE      68103              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          05/2015        Last 4 digits of account number        5    R     E    V




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                               $7,337.01

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                           $22,037.01

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                      Case 16-42080     Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document         Page 19 of 53




  Fill in this information to identify your case:
  Debtor 1              Christopher          Wayne                    Ponton
                        First Name           Middle Name              Last Name

  Debtor 2            Aida                   Nelly                    Ponton
  (Spouse, if filing) First Name             Middle Name              Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number           16-42080
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                     Last 4 digits of account number
                                                             When was the debt incurred?
Number       Street
                                                             As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
City                            State    ZIP Code
Who incurred the debt? Check one.                            Type of PRIORITY unsecured claim:
     Debtor 1 only                                              Domestic support obligations
     Debtor 2 only                                              Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                 Claims for death or personal injury while you were
     At least one of the debtors and another                    intoxicated
     Check if this claim is for a community debt                Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55      Desc Main Document         Page 20 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                                Case number (if known)      16-42080

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $918.00
Aargon Agency                                                Last 4 digits of account number        9     4    0     5
Nonpriority Creditor's Name
                                                             When was the debt incurred?
8668 Spring Mountain Rd
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Las Vegas                       NV       89117
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                        $10,460.00
Capital One                                                  Last 4 digits of account number        0 4        0     3
Nonpriority Creditor's Name
                                                             When was the debt incurred?          03/2011
PO Box 30285
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Salt Lake City                  UT       84130
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 21 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.3                                                                                                                                        $2,496.00
Cardworks/CW Nexus                                           Last 4 digits of account number       0 4       9    8
Nonpriority Creditor's Name
                                                             When was the debt incurred?         08/2012
P.O Box 9201
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Old Bethpage                    NY       11804
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                        $1,226.00
CashNet USA                                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
175 West Jackson, Suite 1000
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Chicago                         IL       60604
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Payday loan
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                         $133.09
Central Credit Services LLC                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
PO Box 1850
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
St Charles                      MO       63302
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Medical bills
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 22 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.6                                                                                                                                        $1,641.00
Commonwealth Financial Systems                               Last 4 digits of account number       2    9    N    1
Nonpriority Creditor's Name
                                                             When was the debt incurred?
245 Main St
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Dickson City                    PA       18519
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                        $2,210.00
Crdtshpinc                                                   Last 4 digits of account number       0 9 4          4
Nonpriority Creditor's Name
                                                             When was the debt incurred?         03/10/2016
221 W. 6th Street
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Austin                          TX       78701
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Unsecured
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                        $2,499.00
Credit One Bank Na                                           Last 4 digits of account number       7 6       4    7
Nonpriority Creditor's Name
                                                             When was the debt incurred?         02/2010
PO Box 98873
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Las Vegas                       NV       89193
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 23 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.9                                                                                                                                        $9,183.00
Dept of Ed/Nelnet                                            Last 4 digits of account number       5 3       3    6
Nonpriority Creditor's Name
                                                             When was the debt incurred?         10/2012
Claims
Number        Street                                         As of the date you file, the claim is: Check all that apply.
PO Box 82505                                                     Contingent
                                                                 Unliquidated
                                                                 Disputed
Lincoln                         NE       68501
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                         $138.00
ERC/Enhanced Recovery Corp                                   Last 4 digits of account number       3 7       6    2
Nonpriority Creditor's Name
                                                             When was the debt incurred?         11/2013
8014 Bayberry Rd
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Jacksonville                    FL       32256
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Collection Attorney
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                        $9,603.00
Fed Loan Servicing                                           Last 4 digits of account number       0 0       0    2
Nonpriority Creditor's Name
                                                             When was the debt incurred?         10/2012
PO Box 69184
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Harrisburg                      PA       17106
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 5
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 24 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.12                                                                                                                                        $1,893.00
Fst Premier                                                  Last 4 digits of account number       3 9       6    7
Nonpriority Creditor's Name
                                                             When was the debt incurred?         10/2010
601 S Minneapolis Ave
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Sioux Falls                     SD       57104
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                         $106.00
Harris & Harris                                              Last 4 digits of account number       2    3    0    6
Nonpriority Creditor's Name
                                                             When was the debt incurred?
111 W Jackson Blvd
Number        Street                                         As of the date you file, the claim is: Check all that apply.
Suite 400                                                        Contingent
                                                                 Unliquidated
                                                                 Disputed
Chicago                         IL       60604
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Unknown Loan Type
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                         $688.00
Kohls/Capital One                                            Last 4 digits of account number       3 0       9    7
Nonpriority Creditor's Name
                                                             When was the debt incurred?         02/2012
PO Box 3120
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Milwaukee                       WI       53201
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 6
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 25 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.15                                                                                                                                         $570.00
Nor-Tex Finance Company                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                             When was the debt incurred?
405 S Elm St Ste 104
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Denton                          TX       76201
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Payday loan
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                         $255.00
Professional Finance Company                                 Last 4 digits of account number       8 0       1    8
Nonpriority Creditor's Name
                                                             When was the debt incurred?         09/2014
Attn: Bankruptcy
Number        Street                                         As of the date you file, the claim is: Check all that apply.
PO Box 1686                                                      Contingent
                                                                 Unliquidated
                                                                 Disputed
Greeley                         CO       80632
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Collection Attorney
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                        $1,204.00
Regional Finance                                             Last 4 digits of account number       4 5 0          1
Nonpriority Creditor's Name
                                                             When was the debt incurred?         12/23/2015
230 West Parker Road
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Plano                           TX       75075
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Secured
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 7
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 26 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.18                                                                                                                                        $1,170.00
Synchrony Bank/Amazon                                        Last 4 digits of account number       1 4       1    8
Nonpriority Creditor's Name
                                                             When was the debt incurred?         09/2014
PO Box 965064
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Orlando                         FL       32896
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                         $207.00
Synchrony Bank/Car Care One                                  Last 4 digits of account number       4 1       6    0
Nonpriority Creditor's Name
                                                             When was the debt incurred?         08/2015
PO Box 965064
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Orlando                         FL       32896
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                        $1,046.00
Synchrony Bank/Care Credit                                   Last 4 digits of account number       5 0       3    2
Nonpriority Creditor's Name
                                                             When was the debt incurred?         06/2012
PO Box 965064
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Orlando                         FL       32896
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 8
                       Case 16-42080    Doc 52      Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document          Page 27 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)       16-42080

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.21                                                                                                                                         $284.00
Synchrony Bank/Lowes                                         Last 4 digits of account number       8 5       8    4
Nonpriority Creditor's Name
                                                             When was the debt incurred?         05/2015
PO Box 965064
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Orlando                         FL       32896
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                         $576.00
Synchrony Bank/PayPal Cr                                     Last 4 digits of account number       7 8       2    9
Nonpriority Creditor's Name
                                                             When was the debt incurred?         06/2015
PO Box 965064
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Orlando                         FL       32896
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                         $909.00
West Asset                                                   Last 4 digits of account number       5    8    5    6
Nonpriority Creditor's Name
                                                             When was the debt incurred?
2703 N Highway 75
Number        Street                                         As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed
Sherman                         TX       75090
City                            State    ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt               Unknown Loan Type
Is the claim subject to offset?
     No
     Yes



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                            page 9
                      Case 16-42080     Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document       Page 28 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                            Case number (if known)    16-42080

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


First Municipal District                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
50 West Washington Street                                    Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                          Judgment
Richard J. Daley Center                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Chicago                         IL        60602
City                            State     ZIP Code


FirstService Residential                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
3102 Oak Lawn Ave                                            Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Dallas                          TX        75219
City                            State     ZIP Code


Internal Revenue Service                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 7346                                                  Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                          Taxes                               Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Philadelphia                    PA        19101-7346
City                            State     ZIP Code


Roundpoint Mtg                                               On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5032 Parkway Plaza Blvd                                      Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                          FHA Real Estate                     Part 2: Creditors with Nonpriority Unsecured Claims
                                                             Mortgage
                                                             Last 4 digits of account number       1    7    9    7
Charlotte                       NC        28217
City                            State     ZIP Code




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                           page 10
                 Case 16-42080      Doc 52    Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document          Page 29 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                       Case number (if known)        16-42080

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

Total claims      6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                  6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                               Total claim

Total claims      6f.   Student loans                                                                6f.             $18,786.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $30,629.09


                  6j.   Total.   Add lines 6f through 6i.                                            6j.             $49,415.09




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                        page 11
                   Case 16-42080      Doc 52    Filed 09/17/19   Entered 09/17/19 14:38:55      Desc Main Document         Page 30 of 53




 Fill in this information to identify your case:
 Debtor 1             Christopher           Wayne                  Ponton
                      First Name            Middle Name            Last Name

 Debtor 2            Aida                   Nelly                  Ponton
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          16-42080
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      OMNIKEY REALTY LLC                                                           Residential lease
          Name                                                                         Contract to be ASSUMED
          660 N. Central Expressway Suite 100
          Number    Street



          Plano                                        TX        75074
          City                                         State     ZIP Code




Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                page 1
                 Case 16-42080        Doc 52     Filed 09/17/19        Entered 09/17/19 14:38:55    Desc Main Document        Page 31 of 53




 Fill in this information to identify your case:
 Debtor 1             Christopher            Wayne                       Ponton
                      First Name             Middle Name                 Last Name

 Debtor 2            Aida                    Nelly                       Ponton
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number          16-42080
                                                                                                                          Check if this is an
 (if known)
                                                                                                                          amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Aida Nelly Ponton
               Name of your spouse, former spouse, or legal equivalent
               1737 Megan Creek Dr
               Number        Street


               Little Elm                                      TX              75068
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                   Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
                    Case 16-42080       Doc 52   Filed 09/17/19    Entered 09/17/19 14:38:55             Desc Main Document        Page 32 of 53




 Fill in this information to identify your case:
     Debtor 1              Christopher            Wayne                    Ponton
                           First Name             Middle Name              Last Name                           Check if this is:
     Debtor 2              Aida                   Nelly                    Ponton                                   An amended filing
     (Spouse, if filing)   First Name             Middle Name              Last Name
                                                                                                                    A supplement showing postpetition
     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS
                                                                                                                    chapter 13 income as of the following date:
     Case number           16-42080
     (if known)
                                                                                                                    MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                 Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page        Employment status                Employed                                           Employed
      with information about                                              Not employed                                       Not employed
      additional employers.
                                         Occupation                Plant Supervisor
      Include part-time, seasonal,
      or self-employed work.             Employer's name           International Paper

      Occupation may include             Employer's address        2015 Country Club Dr
      student or homemaker, if it                                  Number Street                                      Number Street
      applies.




                                                                   Carrollton                   TX       75006
                                                                   City                         State    Zip Code     City                   State   Zip Code

                                         How long employed there?           6 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1            For Debtor 2 or
                                                                                                                        non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                      $4,063.56                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                          3.   +           $1,325.97                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                     4.               $5,389.53                  $0.00




Official Form 106I                                                Schedule I: Your Income                                                                page 1
                     Case 16-42080            Doc 52        Filed 09/17/19          Entered 09/17/19 14:38:55                Desc Main Document        Page 33 of 53



Debtor 1        Christopher Wayne Ponton
Debtor 2        Aida Nelly Ponton                                                                                                Case number (if known)    16-42080
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $5,389.53            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $783.23                  $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                  $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                       5d.               $50.86                  $0.00
     5e. Insurance                                                                                          5e.              $396.23                  $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                  $0.00
     5g. Union dues                                                                                         5g.                $0.00                  $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $1,230.32                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $4,159.21                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $4,159.21 +             $0.00 =                                                   $4,159.21
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $4,159.21
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
                    Case 16-42080       Doc 52    Filed 09/17/19     Entered 09/17/19 14:38:55       Desc Main Document         Page 34 of 53




 Fill in this information to identify your case:
                                                                                                           Check if this is:
     Debtor 1              Christopher              Wayne                  Ponton                              An amended filing
                           First Name               Middle Name            Last Name                           A supplement showing postpetition
                                                                                                               chapter 13 expenses as of the
     Debtor 2              Aida                     Nelly                  Ponton
     (Spouse, if filing)   First Name               Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:      EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           16-42080
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                    No
                                                 Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                           Debtor 1 or Debtor 2           age              live with you?
                                                 for each dependent...................................
      Debtor 2.                                                                                                                                 No
                                                                                    Son                                 19
                                                                                                                                                Yes
      Do not state the dependents'
                                                                                                                                                No
      names.
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
                                                                                                                                                No
                                                                                                                                                Yes
3.    Do your expenses include                          No
      expenses of people other than                     Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                        Your expenses

4.    The rental or home ownership expenses for your residence.                                                        4.                       $1,750.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                            4a.

      4b. Property, homeowner's, or renter's insurance                                                                 4b.                        $58.33
      4c. Home maintenance, repair, and upkeep expenses                                                                4c.

      4d. Homeowner's association or condominium dues                                                                  4d.




 Official Form 106J                                               Schedule J: Your Expenses                                                           page 1
                  Case 16-42080     Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document      Page 35 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                             Case number (if known)   16-42080
                                                                                                               Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                          5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                  6a.                      $200.00
     6b. Water, sewer, garbage collection                                                                6b.                      $150.00
     6c. Telephone, cell phone, Internet, satellite, and                                                 6c.                      $500.00
         cable services
     6d. Other. Specify:                                                                                 6d.

7.   Food and housekeeping supplies                                                                      7.                       $700.00
8.   Childcare and children's education costs                                                            8.

9.   Clothing, laundry, and dry cleaning                                                                 9.                        $25.00
10. Personal care products and services                                                                  10.                       $25.00
11. Medical and dental expenses                                                                          11.                       $25.00
12. Transportation. Include gas, maintenance, bus or train                                               12.                      $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                        13.
    magazines, and books
14. Charitable contributions and religious donations                                                     14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                               15a.

     15b.   Health insurance                                                                             15b.

     15c.   Vehicle insurance                                                                            15c.                     $430.00
     15d.   Other insurance. Specify:                                                                    15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                             16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    2014 Dodge Journey                                             17a.                     $442.00
     17b.   Car payments for Vehicle 2    2016 VW Tiguan                                                 17b.                     $358.00
     17c.   Other. Specify:                                                                              17c.

     17d.   Other. Specify:                                                                              17d.

18. Your payments of alimony, maintenance, and support that you did not report as                        18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                             19.




 Official Form 106J                                        Schedule J: Your Expenses                                                 page 2
                 Case 16-42080        Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55      Desc Main Document     Page 36 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                                  Case number (if known)   16-42080
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                       20a.

    20b.    Real estate taxes                                                                                 20b.

    20c.    Property, homeowner's, or renter's insurance                                                      20c.

    20d.    Maintenance, repair, and upkeep expenses                                                          20d.

    20e.    Homeowner's association or condominium dues                                                       20e.

21. Other. Specify:                                                                                           21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                           22a.                    $4,813.33
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                  22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                        22c.                    $4,813.33

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                      23a.                    $4,159.21
    23b.    Copy your monthly expenses from line 22c above.                                                   23b.   –                $4,813.33
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                            23c.                    ($654.12)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                                     page 3
                     Case 16-42080            Doc 52        Filed 09/17/19          Entered 09/17/19 14:38:55                Desc Main Document                  Page 37 of 53




 Fill in this information to identify your case:
 Debtor 1                Christopher                   Wayne                         Ponton
                         First Name                    Middle Name                   Last Name

 Debtor 2            Aida                              Nelly                         Ponton
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number             16-42080
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $36,918.73
     1b. Copy line 62, Total personal property, from Schedule A/B.........................................................................................................................................................


                                                                                                                                                                              $36,918.73
     1c. Copy line 63, Total of all property on Schedule A/B....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $22,037.01
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $49,415.09
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                          $71,452.10




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $4,159.21
     Copy your combined monthly income from line 12 of Schedule I.......................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $4,813.33




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
                  Case 16-42080     Doc 52    Filed 09/17/19    Entered 09/17/19 14:38:55       Desc Main Document       Page 38 of 53



Debtor 1      Christopher Wayne Ponton
Debtor 2      Aida Nelly Ponton                                                            Case number (if known)      16-42080


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $7,560.72


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                  $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                          $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                $0.00


     9d. Student loans. (Copy line 6f.)                                                                          $18,786.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                        $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)        +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                      $18,786.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                 Case 16-42080    Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document        Page 39 of 53




 Fill in this information to identify your case:
 Debtor 1           Christopher         Wayne                Ponton
                    First Name          Middle Name          Last Name

 Debtor 2            Aida               Nelly                Ponton
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number        16-42080
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Christopher Wayne Ponton                          X /s/ Aida Nelly Ponton
        Christopher Wayne Ponton, Debtor 1                    Aida Nelly Ponton, Debtor 2

        Date 09/17/2019                                       Date 09/17/2019
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
                 Case 16-42080      Doc 52      Filed 09/17/19    Entered 09/17/19 14:38:55     Desc Main Document       Page 40 of 53




 Fill in this information to identify your case:
 Debtor 1            Christopher             Wayne                 Ponton
                     First Name              Middle Name           Last Name

 Debtor 2            Aida                    Nelly                 Ponton
 (Spouse, if filing) First Name              Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number         16-42080
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        5060 Aztec Dr                                      From      2008                                                        From
        Number      Street                                                      Number      Street
                                                           To        2015                                                        To


        The Colony                TX       75056
        City                      State    ZIP Code                             City                      State   ZIP Code


        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        1737 Megan Creek Dr                                From      2015                                                        From
        Number      Street                                                      Number      Street
                                                           To      08/2018                                                       To


        Little Elm                TX       75068
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
                   Case 16-42080         Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document        Page 41 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                           Case number (if known)     16-42080

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                      Debtor 1                                        Debtor 2

                                                     Sources of income         Gross income          Sources of income         Gross income
                                                     Check all that apply.     (before deductions    Check all that apply.     (before deductions
                                                                               and exclusions                                  and exclusions

From January 1 of the current year until                Wages, commissions,            $47,680.56       Wages, commissions,              $14,972.67
the date you filed for bankruptcy:                      bonuses, tips                                   bonuses, tips
                                                        Operating a business                            Operating a business


For the last calendar year:                             Wages, commissions,          $108,903.00        Wages, commissions,
                                                        bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                  Operating a business                            Operating a business


For the calendar year before that:                      Wages, commissions,            $99,569.00       Wages, commissions,
                                                        bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                  Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
                      Case 16-42080       Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55      Desc Main Document         Page 42 of 53



Debtor 1         Christopher Wayne Ponton
Debtor 2         Aida Nelly Ponton                                                             Case number (if known)      16-42080


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Go Financial                                                                      $1,326.00           $20,610.66             Mortgage
Creditor's name                                                                                                              Car
                                                               First of every month
7465 E Hampton Ave                                                                                                           Credit card
Number      Street
                                                                                                                             Loan repayment
                                                                                                                             Suppliers or vendors
Mesa                                 AZ       85209                                                                          Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
                   Case 16-42080       Doc 52        Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document      Page 43 of 53



Debtor 1         Christopher Wayne Ponton
Debtor 2         Aida Nelly Ponton                                                            Case number (if known)    16-42080

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
                     Case 16-42080     Doc 52     Filed 09/17/19   Entered 09/17/19 14:38:55    Desc Main Document        Page 44 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                            Case number (if known)     16-42080

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                      Description and value of any property transferred         Date payment         Amount of
Sims Law, PLLC                                        Conversion attorney fee                                   or transfer was      payment
Person Who Was Paid                                                                                             made

5601 Bridge St                                                                                                      8/26/2019             $975.00
Number      Street

Suite 300

Fort Worth                    TX       76112
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                      Description and value of any             Describe any property or payments        Date transfer
Stranger                                              property transferred                     received or debts paid in exchange       was made
Person Who Received Transfer                          1737 Megan Creek Dr                      Net proceeds: $30,000                       08/2018
                                                      Little Elm, TX 75068
Number      Street                                    Sale Price: $283,500




City                          State    ZIP Code

Person's relationship to you None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
                     Case 16-42080      Doc 52     Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document       Page 45 of 53



Debtor 1        Christopher Wayne Ponton
Debtor 2        Aida Nelly Ponton                                                           Case number (if known)    16-42080

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                       Last 4 digits of account     Type of account or         Date account         Last balance
                                                       number                       instrument                 was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
BBVA Compass Bank
Name of Financial Institution
                                                       XXXX- 6       8    7    8        Checking                     1/2018               $0.00
P.O Box 10566                                                                           Savings
Number      Street
                                                                                        Money market
                                                                                        Brokerage
                                                                                        Other
Birmingham                      AL      35296
City                            State   ZIP Code

                                                       Last 4 digits of account     Type of account or         Date account         Last balance
                                                       number                       instrument                 was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
BBVA Compass Bank
Name of Financial Institution
                                                       XXXX- 7       5    7    2        Checking                     1/2018               $0.00
PO Box 10566                                                                            Savings
Number      Street
                                                                                        Money market
                                                                                        Brokerage
                                                                                        Other
Birmingham                      AL      35296
City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
                   Case 16-42080       Doc 52    Filed 09/17/19    Entered 09/17/19 14:38:55       Desc Main Document           Page 46 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                               Case number (if known)         16-42080

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
                   Case 16-42080      Doc 52   Filed 09/17/19     Entered 09/17/19 14:38:55      Desc Main Document       Page 47 of 53



Debtor 1       Christopher Wayne Ponton
Debtor 2       Aida Nelly Ponton                                                              Case number (if known)   16-42080

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Christopher Wayne Ponton                            X /s/ Aida Nelly Ponton
   Christopher Wayne Ponton, Debtor 1                           Aida Nelly Ponton, Debtor 2

   Date       09/17/2019                                        Date     09/17/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                            Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
                    Case 16-42080    Doc 52   Filed 09/17/19      Entered 09/17/19 14:38:55     Desc Main Document      Page 48 of 53




 Fill in this information to identify your case:
 Debtor 1              Christopher        Wayne                    Ponton
                       First Name         Middle Name              Last Name

 Debtor 2            Aida                 Nelly                    Ponton
 (Spouse, if filing) First Name           Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number           16-42080
                                                                                                                                Check if this is an
 (if known)
                                                                                                                                amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral          What do you intend to do with the            Did you claim the property
                                                                         property that secures a debt?                as exempt on Schedule C?

      Creditor's        Bridgecrest                                            Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    VW                                                     Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:


      Creditor's        Go Financial                                           Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    2014 Dodge Journey (approx. 20100                      Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
                        miles)
      securing debt:                                                           Retain the property and [explain]:


      Creditor's        Nebraska Furniture Mart                                Surrender the property.                    No
      name:                                                                    Retain the property and redeem it.         Yes
      Description of    Household Goods                                        Retain the property and enter into a
      property                                                                 Reaffirmation Agreement.
      securing debt:                                                           Retain the property and [explain]:




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                      page 1
                Case 16-42080    Doc 52    Filed 09/17/19     Entered 09/17/19 14:38:55      Desc Main Document        Page 49 of 53



Debtor 1     Christopher Wayne Ponton
Debtor 2     Aida Nelly Ponton                                                            Case number (if known)    16-42080

 Part 2:      List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                               Will this lease be assumed?

    Lessor's name:        OMNIKEY REALTY LLC                                                                           No
    Description of leased Residential lease                                                                            Yes
    property:



 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Christopher Wayne Ponton                        X /s/ Aida Nelly Ponton
   Christopher Wayne Ponton, Debtor 1                       Aida Nelly Ponton, Debtor 2

   Date 09/17/2019                                          Date 09/17/2019
        MM / DD / YYYY                                           MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2
                       Case 16-42080             Doc 52        Filed 09/17/19         Entered 09/17/19 14:38:55                 Desc Main Document                  Page 50 of 53



B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                              EASTERN DISTRICT OF TEXAS
                                                                  SHERMAN DIVISION
In re Christopher Wayne Ponton                                                                                                      Case No.           16-42080
      Aida Nelly Ponton
                                                                                                                                    Chapter            7
                                                                                          AMENDED
                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                    $975.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                   $975.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
               Case 16-42080    Doc 52   Filed 09/17/19    Entered 09/17/19 14:38:55   Desc Main Document   Page 51 of 53



B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                   09/17/2019                             /s/ Tyler S. Sims
                      Date                                Tyler S. Sims                              Bar No. 24088418
                                                          Sims Law, PLLC
                                                          5601 Bridge St, Suite 300
                                                          Fort Worth, TX 76112
                                                          Phone: (469) 751-7467 / Fax: (866) 966-7480




    /s/ Christopher Wayne Ponton                                       /s/ Aida Nelly Ponton
   Christopher Wayne Ponton                                           Aida Nelly Ponton
                 Case 16-42080   Doc 52    Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document   Page 52 of 53



                                          UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                  SHERMAN DIVISION
  IN RE:   Christopher Wayne Ponton                                                      CASE NO     16-42080
           Aida Nelly Ponton
                                                                                        CHAPTER      7
                                                              AMENDED
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/17/2019                                                Signature    /s/ Christopher Wayne Ponton
                                                                          Christopher Wayne Ponton



Date 9/17/2019                                                Signature    /s/ Aida Nelly Ponton
                                                                          Aida Nelly Ponton




                                                                           /s/ Tyler S. Sims
                                                                          Tyler S. Sims
                                                                          24088418
                                                                          Sims Law, PLLC
                                                                          5601 Bridge St
                                                                          Ste 300
                                                                          Fort Worth, TX 76112
                                                                          469-751-7467
             Case 16-42080   Doc 52   Filed 09/17/19   Entered 09/17/19 14:38:55   Desc Main Document   Page 53 of 53



Bridgecrest
P.O. Box 53087
Phoenix, AZ 85072


OMNIKEY REALTY LLC
660 N. Central Expressway Suite 100
Plano, TX 75074
